                             No. 22-2839
                            CAPITAL CASE


                UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT


                   ROBERT WHARTON, Petitioner,

                                  v.

                 DONALD T. VAUGHN, Respondent.

        Appeal of The Philadelphia District Attorney’s Office,
                Paul George, and Nancy Winkelman


  Appeal from the Order entered on September 12, 2022, in the
 United States District Court for Eastern District of Pennsylvania
             in Civil Action No. 2:01-cv-06049-MSG


               REPLY BRIEF OF APPELLANTS
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                                   TABLE OF CONTENTS
I.     Introduction ......................................................................................... 1
II.    Argument ............................................................................................. 6

       A.      The Challenged Statements Were Truthful, Responsive to
               the District Court, and Did Not Violate Rule 11 .......................... 6

       B.      The Amicus Brief Misstates the Law of Rule 11 and the
               Duty of Candor ..........................................................................15

       C.      The Statement About Communication with the Victims’
               Family Was Not Sanctionable .................................................. 23
       D.      The District Court Failed to Timely Refer the Matter
               Pursuant to Local Rule 83.6(V) ................................................ 26

III.   Conclusion ......................................................................................... 28




                                                         -i-
                               TABLE OF AUTHORITIES

                                                                                             Page(s)

Cases

Adams v. Ford Motor Co.,
  653 F.3d 299 (3d Cir. 2011) .................................................................... 27

Arkansas Teacher Retirement System v. State Street
  Corporation,
  25 F.4th 55 (1st Cir. 2022) ...................................................................... 22
Berger v. United States,
  295 U.S. 78 (1935) ...................................................................................19
Bosse v. Oklahoma,
  580 U.S. 1 (2016) .............................................................................. 25, 27
Burger v. Kemp,
  483 U.S. 776 (1987) ................................................................................. 11
Commonwealth v. Brown,
  196 A.3d 130 (Pa. 2018) .................................................................... 20, 21

Commonwealth v. Thomas,
  561 A.2d 699 (Pa. 1989) ............................................................................ 7

Dillon v. BMO Harris Bank, N.A.,
   2016 WL 5679190 (M.D.N.C. Sept. 30, 2016) ........................................ 24

Domain Protection L.L.C. v. Sea Wasp, L.L.C.,
  23 F.4th 529 (5th Cir. 2022) ..............................................................19, 24

Douglas v. Donovan,
  704 F.2d 1276 (D.C. Cir. 1983) ............................................................... 20

Eagan by Keith v. Jackson,
  855 F. Supp. 765 (E.D. Pa. 1994) ............................................................ 22


                                                  -ii-
El v. City of Pittsburgh,
   No. 2:15-CV-00834-NBF, 2017 WL 3219301
   (W.D. Pa. July 28, 2017),
   clarified on denial of reconsideration,
   No. 2:15-CV-00834-NBF, 2017 WL 4310233
   (W.D. Pa. Sept. 28, 2017)................................................................... 12, 13

Ford Motor Co. v. Summit Motor Products, Inc.,
  930 F.2d 277 (3d Cir. 1991) ..................................................................... 15

Garr v. U.S. Healthcare, Inc.,
  22 F.3d 1274 (3d Cir. 1994) ................................................................ 3, 10

Greenberg v. Lehocky,
  No. 22-1733, 2023 WL 5539272 (3d Cir. Aug. 29, 2023) ........................ 17

King v. Whitmer,
   71 F.4th 511 (6th Cir. 2023) .....................................................................16

Kiobel v. Millson,
   592 F.3d 78 (2d Cir. 2010)...................................................................... 25
LaSalle National Bank v. First Connecticut Holding Group, LLC,
  287 F.3d 279 (3d Cir. 2002) ....................................................................19

Mary Ann Pensiero, Inc. v. Lingle,
  847 F.2d 90 (3d Cir. 1988) .................................................................. 3, 12
McCoy v. Court of Appeals of Wisconsin, District 1,
  486 U.S. 429 (1988)................................................................................ 18

Moran v. Moran,
  612 A.2d 1075 (Pa. Commw. Ct. 1992).....................................................21

Pa. Environmental Defense Foundation v. U.S. Department
  of the Navy,
  1995 WL 56602 (E.D. Pa. Feb. 3, 1995) .................................................. 22

Redland Soccer Club, Inc. v. Department of Army of U.S.,
  55 F.3d 827 (3d Cir. 1995) .......................................................................12

Rompilla v. Beard,
  545 U.S. 374 (2005) ............................................................................11, 12
                                                 -iii-
In re Ronco, Inc.,
   838 F.2d 212 (7th Cir. 1988)....................................................................16
Sibron v. New York,
   392 U.S. 40 (1968) .................................................................................. 20

Six v. Generations Federal Credit Union,
   891 F.3d 508 (4th Cir. 2018) ............................................................. 18, 19
Strickland v. Washington,
   466 U.S. 668 (1984).................................................................. 8, 11, 12, 25

In re Taylor,
   655 F.3d 274 (3d Cir. 2011) .................................................................... 24

United States v. Block,
  660 F.2d 1086 (former 5th Cir. Unit B Nov. 12, 1981) ........................... 20

United States v. Gonzalez,
  905 F.3d 165 (3d Cir. 2018) ...................................................................... 7
United States v. Jimenez,
  928 F.2d 356 (10th Cir. 1991) ................................................................. 20

United States v. Shaffer Equipment Company,
  11 F.3d 450 (4th Cir. 1993) ......................................................................19

Vorchheimer v. Philadelphian Owners Association,
  903 F.3d 100 (3d Cir. 2018) ................................................................... 25
Wharton v. Superintendent Graterford SCI, et al.,
  No. 22-9001, Dkt. 34-1 (3d Cir. Dec. 6, 2022) .......................................... 8

Wharton v. Superintendent Graterford SCI, et al.,
  No. 22-9001, Dkt. 43 (3d Cir. Feb. 6, 2023) ............................................. 8

Wharton v. Vaughn,
  722 F. App’x 268 (3d Cir. 2018) ....................................................... 6, 8, 9

Wiggins v. Smith,
  539 U.S. 510 (2003) ................................................................................. 11



                                                   -iv-
Constitutional Provisions, Statutes and Rules
28 U.S.C. § 1927............................................................................................19

42 Pa. C.S. § 9711(d)(9) ................................................................................. 7

E.D. Pa. L. Civ. R. 83.6 ................................................................................ 26

E.D. Pa. L. Civ. R. 83.6(IV)(B) .................................................................... 26

E.D. Pa. L. Civ. R. 83.6(V) ..................................................................... 26, 27
Fed. R. Civ. P. 11 ...................................................................................passim

Fed. R. Civ. P. 11(b) ................................................................................ 15, 17

Fed. R. Civ. P. 11(b)(3) .......................................................................... 1, 6, 15
Fed. R. Civ. P. 11(c)(2) ..................................................................................16

Fed. R. Civ. P. 11, cmt. ..................................................................................13

Pa. R. Evid. 404(a) ........................................................................................ 7

Pa. R. Prof’l. Conduct 3.3 ................................................................ 22, 26, 27
Pa. R. Prof’l. Conduct 3.3(a)(1)..................................................................... 17

Pa. R. Prof’l. Conduct 3.3(d)...................................................................21, 22

U.S. Const. amend. VI ..............................................................................2, 12
Other Authorities

American Bar Association, Criminal Justice Standards for the
  Prosecution Function s. 3-1.4(b) (4th ed. 2017). .................................... 20

Black’s Law Dictionary (11th ed. 2019) ....................................................... 27

Gregory P. Joseph, 1 Sanc. Fed. Law of Lit. Abuse § 11 (2022) ................... 23
Pa. Bar. Ass’n Comm. Leg. Eth. Prof. Resp., Op. 2005-10, 2005
   WL 1047078 (Mar. 17, 2005) (informal opinion) ....................................21


                                                    -v-
Phila. Bar Ass’n Eth. Op. No. 98-15 (July 2005), available at
  https://philadelphiabar.org/?pg=EthicsOpinion98-15 ..........................21




                                      -vi-
I.      INTRODUCTION

        Appellants’ Opening Brief demonstrates that the District Court erred

in (1) failing to apply the requisite Rule 11 standard for imposing sanctions,

(2) imposing an incorrect duty of candor for prosecutors, (3) relying on

facts not supported by the record, and (4) sanctioning Appellants for

statements that were undisputedly true and based on an inquiry reasonable

in the circumstances. Appellants’ Br. at 30-50. The brief further

demonstrates that the District Court erred by not following Local Civil Rule

83.6.

        The supporting brief of amici curiae of practicing lawyers, law

professors, and legal scholars demonstrates that Rule 11 was not violated by

the DAO’s concession of a legal issue, the District Court misapplied the

Rule 11(b)(3) standard, and the imposition of sanctions hinders the

interests of justice. Brief of Amici Curiae James Becker, et al., in support of

Appellants at 5-16 (Dkt. 21) (“Becker Amici Br.”).

        This Court appointed Amicus to support affirmance, Dkt. 28 (Order),

and briefs were also submitted by family members of the victims (Dkt. 47)

and the Office of Attorney General (Dkt. 44). This Reply focuses on the

Appointed Amicus’s Brief (Dkt. 36, “Amicus Brief”), addressing along the

way points raised in the other briefs.


                                      -1-
      The Amicus Brief fails to come to terms with our core arguments.

Most notably, the DAO’s review was entirely consistent with the remand

order of this Court, which set forth the governing principles of assessing a

claim of ineffectiveness of counsel in a habeas proceeding. At that juncture,

the DAO had the relevant information to evaluate the performance and

prejudice prongs of Wharton’s Sixth Amendment habeas claim. In the

same way that a party after remand evaluates next steps after a re-review of

the underlying trial transcript, the DAO had the full factual record of the

sentencing court, including the aggravating and mitigating circumstances

relevant to the prejudice issue. Here, moreover, that actual record evidence

before the sentencing court had been developed by the prior DAO that

vigorously sought the death penalty. Indisputably, the DAO carefully

reviewed that evidence.

      Appellants are not (and cannot be) faulted for their statement that

they carefully reviewed that evidence. Instead, without legal basis, the

District Court sanctioned Appellants because Appellants’ review did not

include a search for and consideration of additional evidence that

Appellants indisputably did not know about. Rule 11 and professional

responsibility law do not support such a duty—and as a matter of law

Appellants cannot be sanctioned because the District Court faults

                                     -2-
Appellants for not having searched for and considered evidence outside the

sentencing court record.

     As this Court has made clear, under Rule 11, “[t]he wisdom of

hindsight should be avoided; the attorney’s conduct must be judged by

‘what was reasonable to believe at the time the pleading, motion, or other

paper was submitted.’” Mary Ann Pensiero, Inc. v. Lingle, 847 F.2d 90, 94

(3d Cir. 1988) (quoting Fed. R. Civ. P. 11 advisory committee note); see also

Garr v. U.S. Healthcare, Inc., 22 F.3d 1274, 1279 (3d Cir. 1994) (same).

The application of this basic Rule 11 law—ignored by the District Court and

Amicus—mandates reversal.

     The Amicus Brief fails to support sanctions. To start, it does not

acknowledge the governing standard – that sanctions are warranted only

for “patently unmeritorious or frivolous” filings and sua sponte sanctions

require something “akin to contempt.” The Amicus Brief does not even try

to link Appellants’ statements to the governing Rule 11 standard; and doing

so makes apparent that Appellants’ statements are not sanctionable.

     The Amicus Brief also repeatedly misapprehends the cases it cites.

Among other things, it fails to acknowledge that the cases on which it relies

are premised on attorney’s knowing or intentional misstatements or

omissions, something that the District Court did not (and could not)

                                    -3-
conclude. There is no record support for concluding that Appellants

knowingly or intentionally made any misstatement or omission, as they

were not aware of the prison escape evidence that lies at the center of the

District Court sanctions.

      All of this is ample basis for reversing the District Court. But there is

more. As noted in our Opening Brief, it is undisputed that the Notice of

Concession (and proposed Order) was a form notice regularly used by prior

District Attorneys and the current District Attorney in stating the intent to

concede a claim in the District Court. Appellants’ Br. at 11; A147, A180-

A247. The Notices did not purport to provide reasons, pro or con, on the

merits of claim, and they were accepted in every case in which they were

filed. See Appellants’ Br. at 11-12; A147 & n.2. The Amicus Brief does not

rebut this.

      Also, as our Opening Brief demonstrated, Appellants did not “refuse”

to provide relevant information to the District Court. In response to the

District Court’s Memorandum of March 4, 2019, the District Attorney

answered the two questions posed by the District Court, stating that the

District Court “may, but is not bound to accept [the DAO’s] concession,”

and that “if the record is insufficient to rule on the [ineffectiveness] claim,

the Court can conduct an evidentiary hearing.” A117. Without basis, the

                                      -4-
District Court stated that Appellants “refused” to provide it relevant

information. There is no record support for any “refusal.” Appellants’ Br.

at 15-16. Rather than address this, the Amicus Brief parrots the District

Court’s misstatement that Appellants refused to provide relevant

information. Amicus Br. at 41. Sanctions cannot be founded by these

damning, but erroneous “facts”.

      To be clear, we accept the challenge by the District Court and Amici to

hold Appellants to the highest possible ethical standards. As the District

Court acknowledged, Nancy Winkelman and Paul George have outstanding

reputations in the legal community. A296. We do not accept, however,

inapplicable ethical standards and unfaithful citations to court decisions

and the factual record.

      There is nothing on this record that demonstrates that Appellants

violated Rule 11 or any ethical standard. They have strong reputational

interests that were injured in the proceedings below. The District Court

sanctions order should be reversed.




                                      -5-
II.   ARGUMENT
      A.    The Challenged Statements Were Truthful, Responsive
            to the District Court, and Did Not Violate Rule 11

      Appellants’ opening Brief showed that their statements at issue were

true, were based on a reasonable inquiry similar to previous concessions by

the DAO and previous DA administrations and were not “factual

contentions” amenable to sanctions under Rule 11(b)(3). Appellants’ Br. at

11-12, 36-50. The Amicus Brief disputes these points but fails to provide a

basis for sanctioning Appellants under Rule 11 or any governing ethical rule.

      We start by setting the relevant legal and factual context on whether

Appellants complied with the Rule 11 requirement to engage in a

“reasonable” inquiry before submitting the concession and statement that

they had made careful review. First is this Court’s remand order on the claim

of ineffectiveness of counsel. The District Court had denied a Certificate of

Appealability on this claim, but this Court granted review based on the

record, which included the testimony at Robert Wharton’s death penalty

hearing and the arguments of the parties on whether counsel was ineffective

in not presenting mitigation evidence of good adjustment in prison. See

Wharton v. Vaughn, 722 F. App’x 268, 270, 282-84 (3d Cir. 2018).

      The DAO had argued that counsel was not ineffective because the

evidence of aggravating circumstances was overwhelming and there was no

                                     -6-
reasonable probability that good adjustment evidence would have led to a

different result. Yet the DAO had not presented evidence of the escape

attempt at the death penalty hearing, even though it was admissible under

Pennsylvania law as rebuttal to the good character testimony presented by

Wharton. See Pa. R. Evid. 404(a); accord United States v. Gonzalez,

905 F.3d 165, 205 (3d Cir. 2018). The decision by the DAO not to introduce

that evidence must have reflected lack of knowledge about the escape

conviction (even though the evidence was far more recent than in 2019), as

it would be a very strange strategic decision not to introduce the evidence.

After all, that DAO zealously sought the death penalty.

      Moreover, under Pennsylvania law, there was at least an arguable

claim that the escape attempt was evidence of “a significant history of

felony convictions involving the use or threat of violence to the person.” 42

Pa. C.S. § 9711(d)(9); see Commonwealth v. Thomas, 561 A.2d 699, 708-09

(Pa. 1989) (conviction for criminal trespass was a crime of use or threat to

use violence to the person). Yet the DAO made no attempt to introduce the

escape incident to support this aggravator. Nor did the DAO provide this

evidence to this Court in response to Wharton’s request for a Certificate of

Appealability.




                                     -7-
      Second, this Court’s ruling and remand order set forth the governing

standards for assessing the ineffectiveness claim. Wharton had to show

that his counsel’s performance was deficient and that he suffered

Strickland prejudice. On the first prong, Wharton’s trial counsel testified at

the 2021 hearing on the habeas petition that he was unaware of this

statutory mitigator and that he would have introduced the evidence if he

had known that it was admissible. Trial counsel also explained that given

the egregious facts, his strategy was to persuade a single juror in order to

get a life sentence. See generally Initial Brief for Appellant, Wharton v.

Superintendent Graterford SCI, et al., No. 22-9001, Dkt. 34-1, at 9-11, 27-

35 (3d Cir. Dec. 6, 2022) (arguing that the risk of harm was far less than the

possible benefit); Brief for Appellee, Wharton v. Superintendent

Graterford SCI, et al., No. 22-9001, Dkt. 43, at 16, 22-32 (3d Cir. Feb. 6,

2023).

      On the prejudice issue, this Court instructed the District Court to

determine whether the evidence of good adjustment established a

reasonable probability of a different result. Wharton v. Vaughn, 722 F.

App’x 268, 282-84 (3d Cir. 2018). Accordingly, on remand it made sense

for the parties to review the record in the case, and primarily the death

penalty hearing. It is standard practice after an appeal for the parties

                                     -8-
review the trial court’s record. That is particularly so here, where

Wharton’s sentencing hearing was marked by vigorous efforts by the

former District Attorney and Wharton’s counsel.

      Nothing in this Court’s opinion required an independent, extra-

record inquiry of prison-misconduct charges or prior criminal convictions,

as that would have already been done by the prosecution to support the

argument for the death penalty. Nor did the opinion preclude concession of

any legal issue. The Court’s reference to the double-edged sword of

mitigating evidence and rebuttal evidence was not in reference to the

escape attempt (which is not mentioned at all); rather, consistent with

established practices, it called for the parties and the District Court to

consider the mitigation and anti-mitigation evidence produced at the

second penalty phase hearing. Wharton, 722 F. App’x at 283.

      The review by the DAO disclosed what reasonably appeared to be the

relevant aggravating evidence, including rebuttal of Wharton’s mitigation

evidence of good character. There was no indication of any relevant

criminal acts of Wharton, and no mention of the escape attempt. In these

circumstances, reasonable counsel for the DAO could justifiably conclude

that it should concede the issue. Indeed, while the District Court rejected

the ineffectiveness claim, it did so in large part because of the escape

                                      -9-
attempt, which was not a part of Wharton’s sentencing trial record. And

with its grant of a COA, it is clear that without this evidence the result

might well have been different.

      In this context, it is apparent that because the prior prosecutors had

not introduced evidence of the escape attempt, the current DAO could more

than reasonably conclude that such a criminal record review was made and

therefore another was not necessary. And since it is undisputed on this

record that they had no knowledge of the escape attempt more than 30 years

later, there was nothing of relevance to disclose to the Court. In other words,

Appellants engaged in a “reasonable inquiry” under Rule 11 of the extensive

record before them; and there was nothing unreasonable about their inquiry

because they did not go further and fish for additional information.

      Garr v. U.S. Healthcare, Inc., 22 F.3d 1274 (3d Cir. 1994), is fully

consistent with this approach in its ruling that reasonableness “must

consider all the material circumstances in evaluating the signer’s conduct.”

Id. at 1278-79. Amicus is quite wrong in interpreting this language to mean

that information not reasonably knowable fits within a duty to disclose

under the rubric of all “circumstances supporting” (or for that matter not

supporting) the concession. Amicus Br. at 38.




                                     - 10 -
      In Rompilla v. Beard, 545 U.S. 374 (2005), the U.S. Supreme Court

addressed an analogous issue in a capital ineffective assistance case that

focused on counsel’s investigation of mitigation evidence. Initial

investigation by defense counsel (including interviews with the defendant

and family members and psychiatric exams) had disclosed no evidence of

childhood abuse. Normally that investigation would have satisfied the

Strickland standard. See Wiggins v. Smith, 539 U.S. 510, 525 (2003)

(further investigation excusable where counsel would likely be

fruitless); Strickland v. Washington, 466 U.S. 668, 699 (1984) (character

and psychological evidence would not likely be helpful); Burger v. Kemp,

483 U.S. 776, 794 (1987) (investigation reasonable once it was evident that

witnesses had only harmful information).

      However, counsel had failed to review court files from which the

prosecution had found prior convictions admissible as aggravating

circumstance evidence. 545 U.S. at 384-86. In the same files was powerful

mitigation evidence of severe childhood abuse that was easily located by

post-conviction counsel. Id. at 390-91. The Supreme Court ruled that

while there is no constitutional duty to engage in fishing expeditions for

mitigation evidence when there is no indication that further investigation

would be fruitful, where the prosecution has divulged evidence that clearly

                                    - 11 -
marks a useful path to defense evidence, that step must be taken. See id.

at 389.

      The same is true here, as there is a strong correlation between the

standards for “reasonableness” under Rule 11 and under the Sixth

Amendment in capital case litigation. In neither setting is “perfection,” as a

matter of hindsight, required. See Pensiero, 847 F.2d at 94. Thus, if the

prosecution case at the death penalty hearing had disclosed any evidence

that the defense would need to investigate, on remand, both sides would

reasonably engage in that further investigation. Here, there was absolutely

no reason for the current DAO to believe that the former DAO had failed to

find what the District Court found to be dispositive evidence of lack of

prejudice on the Strickland claim.

      The suggestion by the District Court and Amicus that Appellants’

counsel prevented a full inquiry into the review made by the DAO

committee by raising a deliberative process privilege is similarly without

support. A47-49, A64-65; Amicus Br. at 41 n.6. Not only was the

invocation of the privilege proper, but the District Court did not dispute its

application. See A285, A314; see also Redland Soccer Club, Inc. v. Dep’t of

Army of U.S., 55 F.3d 827, 853 (3d Cir. 1995) (deliberative process privilege

protects confidential government deliberations); El v. City of Pittsburgh,

                                     - 12 -
No. 2:15-CV-00834-NBF, 2017 WL 3219301, at *7 (W.D. Pa. July 28, 2017),

clarified on denial of reconsideration, No. 2:15-CV-00834-NBF, 2017 WL

4310233 (W.D. Pa. Sept. 28, 2017) (“the reasoning behind why certain

determinations were made” as to criminal charges was protected by

deliberative process privilege and work product doctrine). Such

discussions are also protected as work product. El, 2017 WL 3219301, at *7.

Rule 11 “does not require a party or an attorney to disclose privileged

communications or work product in order to show that the signing of the

pleading, motion, or other paper is substantially justified.” Fed. R. Civ.

P. 11, cmt. to 1983 Amendment.

      In fact, Appellants’ counsel allowed Mr. George and Ms. Winkelman

to explain the review process and reasons for the concession, including a

review of the death penalty hearing and their lack of knowledge of the

escape attempt. See A285-286, A297-A302, A309, A315, A318, A324-25,

A335-341, A346-49, A352-353. They also explained that the DAO reviewed

the opinions and briefs from the case, A318, A338; reexamined the facts of

the case and counsel’s deficient performance, A302, A335-341, A347; and

considered “the pros and cons of whether or not Mr. Wharton’s issue had

merit,” A340-341.




                                    - 13 -
      The District Court never requested the DAO to provide any reasons,

pro or con, on the concession issue. The District Court’s claim that it had

requested a “fulsome” response on these facts, A9, is entirely inconsistent

with the District Court’s Order in response to the Notice of Concession,

which asked only whether it had to accept the concession and whether it

could hold a hearing on the ineffectiveness claim, A111. The DAO properly

responded that the District Court could hold a hearing and need not accept

the concession, A113-118. 1

      Essentially, Amicus asserts that Appellants may be sanctioned for not

having redone the investigation by the former District Attorney who

zealously sought the death penalty. Amicus Br. at 36, 40. But the plain

meaning of “review of this case” or “careful[] review[] of the facts and law”

does not require a wide-ranging fishing expedition beyond the record in the




      1 Amicus doubles-down on the Court’s misstatement, contending that

the DAO had “affirmatively offer[ed] reasons for its concession” in its
April 3, 2019, brief. Amicus Br. at 38. The DAO’s brief was directed to the
two narrow issues on which the District Court invited briefing: whether it
was required to accept the concession and whether a hearing was necessary.
A113-118. The District Court’s March 4, 2019 Opinion, states that “I will
order the parties to provide any facts and legal authority supporting their
request that I grant of habeas relief on the current record.” A104. This
statement is not reflected in the accompanying Order, A111-12, and is
clearly intended to address the scope of the evidentiary hearing on
Wharton’s claim.
                                    - 14 -
case. The record shows a reasonable review under the circumstances, and

that is all that Rule 11 requires. See Fed. R. Civ. P. 11(b).

      Finally, we note Amicus’s speculation, Br. at 43, that the former DAO

did not use the evidence because no one had asserted that there had been a

“careful review” before the concession. That is non sequitur. The former

District Attorney vigorously sought and attempted to defend the imposition

of the death penalty. A4. It did not use the evidence of the escape at the

penalty hearing. If that evidence were materially useful, the former

prosecutors would have used it. That they did not shows why it was

reasonable that Appellants lacked knowledge of the escape and why

Appellants reasonably relied on the record developed by the prior DAO in

Wharton’s previous criminal proceedings.

      B.    The Amicus Brief Misstates the Law of Rule 11 and the
            Duty of Candor

      The Amicus Brief grossly misstates the Rule 11 standard. As a general

matter, Rule 11(b)(3) sanctions may be imposed “only in the ‘exceptional

circumstance’ where a claim or motion is patently unmeritorious or

frivolous.” Ford Motor Co. v. Summit Motor Prod., Inc., 930 F.2d 277, 289

(3d Cir. 1991) (emphasis added). The evidentiary basis for a factual

contention need not be substantial; even a “reasonable, albeit tenuous,”

basis satisfies the Rule. Id. at 290.

                                        - 15 -
     Further, because sua sponte sanctions avoid the safe harbor provision

of Rule 11(c)(2), the standard for a violation is even more demanding. It is

reserved only for conduct “akin to a contempt” of court. Appellants’ Br. at

31-32 & n.15 (citing cases). 2 The Amicus Brief ignores these standards, and

it fails to demonstrate that Appellants’ conduct meets these high Rule 11

requirements.

     Instead, the Amicus Brief argues, erroneously, that Rule 11 imposes

certain “substantive obligations” under an “implied duty of candor.”

Amicus Br. at 30. 3 It contends that these obligations require attorneys to

(among other things) bring all “relevant facts,” known or unknown, to a

court’s attention. Id. at 30-31. But this contention is not supported by

Amicus’s cases and ignores the heart of Rule 11: whether the party’s




     2  Amicus argues that the imposition of sanctions is discretionary, and
this Court’s review is deferential. Amicus Br. at 28-29. But review of any
sanctions order requires scrutiny. “Review [of a sanctions order] under the
abuse of discretion standard does not mean no appellate review. Rule 11
sanctions have significant impact beyond the merits of the individual case.”
In re Ronco, Inc., 838 F.2d 212, 217 (7th Cir. 1988) (including reputational
harm to lawyers and chilling effect on creative advocacy); see also Becker
Amici Br. at 11-16.
     3 King v. Whitmer, 71 F.4th 511 (6th Cir. 2023), ruled that sanctions

are appropriate only “for factual assertions [attorneys] know—or after
reasonable investigation should have known—are false or wholly
unsupported.” Id. at 521.
                                    - 16 -
statement is the result of an “inquiry reasonable under the circumstances.”

Fed. R. Civ. P. 11(b).

      To start, a finding that a lawyer breached an implied duty of candor

requires that the lawyer made a knowingly false statement or knowingly

failed to correct a misstatement. See Pa. R. Prof’l. Conduct 3.3(a)(1);

accord Greenberg v. Lehocky, No. 22-1733, 2023 WL 5539272, at *6 (3d

Cir. Aug. 29, 2023) (“knowledge” within the meaning of Pa. R. Prof’l.

Conduct 8.4 requires that lawyer “actually know[] his conduct [wa]s

harassing or discriminatory,” or be “practically certain that it will cause

harassment or discrimination”). The District Court and Amicus cannot

meet that burden because it is undisputed that no one involved in the

DAO’s review of Wharton’s claim knew about the escape attempt. See

Appellants’ Br. at 12-13 (citing, e.g., A324-25, A336, A346-47). And, as we

have argued, the DAO that vigorously sought the death penalty

demonstrated no knowledge of the escape attempt, even though their

efforts were far closer to the event than those of Appellants. 4




      4 Amicus defends the District Court’s statement that “the DAO had

improperly withheld information about Wharton’s escape,” Amicus Br.
at 19, but both fail to show that Appellants knew of the escape (in fact, they


                                     - 17 -
      Next, Amicus incorrectly suggests the broader proposition that a

lawyer may be sanctioned if the court considers itself “misled” by the

lawyer’s true statements. Amicus Br. at 27, 30-31. But no such duty exists,

and the cases cited provide no support for this standard.

      Amicus starts off by misstating McCoy v. Court of Appeals of

Wisconsin, District 1, 486 U.S. 429 (1988), a case not even about Rule 11.

Amicus says that McCoy stands for the proposition that “the duty of candor

requires that attorneys not make statements that, while technically true,

‘mislead the court.’” Amicus Br. at 30. Astonishingly, the Amicus Brief

omits the word “deliberately” from its quote; the Supreme Court wrote that

a lawyer should not make statements that “deliberately mislead the court.”

See id.; see 486 U.S. at 436 (emphasis supplied.)

      From there, Amicus suggests that Six v. Generations Federal Credit

Union, 891 F.3d 508 (4th Cir. 2018), supports the sanctions because it

prohibits “ambiguous arguments that present an ‘overall mosaic of half-

truths and deception.” Amicus Br. at 31. But Six also concerned (among




did not). Even more telling is the failure of Amicus to correct the District
Court’s clear factual error in asserting that it had asked the DAO for a
“fulsome” statement of the reasons for the concession. There was no
request, much less a fulsome one. Appellants’ Br. at 15, 38 n.18.
                                    - 18 -
other things) “failures to correct known misimpressions created by” the

lawyers’ own conduct.” 891 F.3d at 511. Likewise, LaSalle National Bank

v. First Connecticut Holding Group, LLC, 287 F.3d 279 (3d Cir. 2002),

cited for the principle that an attorney must conduct himself “with integrity

and honesty when making representations regarding a matter in litigation,”

Amicus Br. at 30, was a construction not of Rule 11, but of Section 1927,

which requires a showing of intentional or bad faith misconduct.

      The Amicus Brief further misleads in citing Koch v. Pechota, 744 F.

App’x 105 (3d Cir. 2018), Domain Protection L.L.C. v. Sea Wasp, L.L.C.,

23 F.4th 529 (5th Cir. 2022), and United States v. Shaffer Equipment Co.,

11 F.3d 450 (4th Cir. 1993), for the far-too-broad proposition that “the duty

of candor” requires “bringing relevant facts … to the Court’s attention.”

Amicus Br. at 31. Each of these decisions involves evidence of intentional

wrongdoing or deceit.

      On a related issue, Amicus Brief fails to address properly what it

terms a prosecutor’s “particularly important responsibility to abide by

Rule 11 and uphold the duty of candor.” Amicus Br. at 31. To be sure,

prosecutors have special duties, including disclosing Brady material and

advising the court of known facts that have a material impact on the issues

in the case. See Berger v. United States, 295 U.S. 78 (1935). But those

                                    - 19 -
duties are not violated when, as here, counsel, after reasonable

investigation, knows nothing about the fact or piece of evidence. The case

cited by both the District Court and Amicus, United States v. Block, 660

F.2d 1086 (former 5th Cir. Unit B Nov. 12, 1981) highlights this: “So ‘if an

attorney for the Government is aware that the court lacks certain relevant

factual information … [the attorney] has the duty to bring the correct state

of affairs to the attention of the court.” Id. (emphasis added). 5

      Neither Sibron v. New York, 392 U.S. 40 (1968), nor Commonwealth

v. Brown, 196 A.3d 130 (Pa. 2018), are to the contrary. Sibron holds that

“[a] state has an interest in having its judicial judgments set aside only

‘upon proper constitutional grounds’ rather than the concession of an




      5 United States v. Jimenez, 928 F.2d 356 (10th Cir. 1991), holds that

prosecutors have “‘an ethical duty to disclose’ relevant sentencing
information.” True enough, but Jimenez makes that unremarkable
observation in holding that a plea agreement, standing alone, does not
prohibit a prosecutor from bringing relevant information to the court’s
attention at sentencing. 928 F.2d at 363. The same is true with respect to
Douglas v. Donovan, 704 F.2d 1276 (D.C. Cir. 1983), a case that concerned
government lawyers’ failure to apprise the court of a highly salient fact, of
which they were obviously aware: that the case had settled. 704 F.2d at
1279. Finally, the ABA standards, like other sources of ethical duties, and
consistent with Rule 11, prohibit only knowing misstatements. See
American Bar Association, Criminal Justice Standards for the Prosecution
Function s. 3-1.4(b) (4th ed. 2017).



                                     - 20 -
‘elected legal officer of one political subdivision within the State.’” And, as

we have shown, Brown holds only that a District Attorney may not seek

reversal of a final judgment without providing legal grounds for such a

judicial declaration. 6 See Appellants’ Br. at 44-46.

      Amicus again miss the mark in arguing that there is a heightened

Rule 3.3(d) duty because the underlying habeas proceedings were “non-

adversarial,” Amicus Br. at 34-35. Pennsylvania ethics opinions and case

law hold that a proceeding is not “ex parte” if all parties have been given

notice and an opportunity to be heard. See Pa. Bar. Ass’n Comm. Leg. Eth.

Prof. Resp., Op. 2005-10 2005 WL 1047078 (informal opinion); Phila. Bar

Ass’n Eth. Op. No. 98-15; Moran v. Moran, 612 A.2d 1075, 1077




      6 Contrary to the Attorney General’s assertion, Dkt. 44, at 2,

Appellants do not seek “ethical ‘wiggle room’” to concede habeas relief.
Rather, Appellants fully accept the duties imposed under Rule 11; they do
not accept Amici’s and the District Court’s misstated duties.
      Additionally, although the Office of Attorney General purports not to
weigh in on the merits, id. at 3, it also assumes, without record support,
that Appellants were not “candid with the Judge” and “misled[]” him. Id.



                                     - 21 -
(Pa. Commw. Ct. 1992). That is exactly what occurred here. See

Appellants’ Br. at 33-34; A249-A256. 7

      Perhaps aware of these rulings and opinions, Amicus urges that

Rule 3.3(d) goes beyond what Amicus terms “technical” ex parte

proceedings. Id. at 35. That too is a head scratcher. The rules of boxing

allow a referee to cancel a fight by calling a Technical Knock Out. E.g.,

https://en.wikipedia.org/wiki/Knockout. But a court cannot depart from

the express text of a rule that makes no distinction between “technical” or

other ex parte proceedings. 8




      7 Professor Green provided an expert opinion that “a habeas

proceeding in which the State decides not to contest the petition is [not] an
ex parte proceeding within the meaning of the rule [3.3(d)],” A253 (citing
NYC Bar Ass’n Comm. on Prof’l Ethics, Op. 2019-1 (2019)). Like the
District Court, Amicus quotes other writings by Professor Green to support
arguments in favor of sanctions, Amicus Br. at 32, yet ignores Professor
Green’s report in this case. Professor Green concluded that Appellants “did
not violate any ethical duty or engage in sanctionable misconduct….” A249.
      8 Arkansas Teacher Retirement Sys v. State Street Corp., 25 F.4th 55

(1st Cir. 2022), involved the Massachusetts version of Rule of Professional
Conduct 3.3, which expressly states that joint applications (there, a fee
request) are ex parte in nature. Moreover, even where there is an ex parte
proceeding, sanctions are not appropriate unless the lawyer made a
deliberate misstatement. See Pa. Envtl. Def. Found. v. U.S. Dep’t of the
Navy, 1995 WL 56602 (E.D. Pa. Feb. 3, 1995); Eagan by Keith v. Jackson,
855 F. Supp. 765 (E.D. Pa. 1994).



                                    - 22 -
      Finally, sanctions should not be imposed where there is no clearly

established duty under Rule 11. As a leading commentator on sanctions has

stated:

            Sanctions are therefore inappropriate where there is
            no clear, binding precedent on the issue and the
            position asserted is “fairly debatable,” Morristown
            Daily Record, Inc. v. Graphic Communications
            Union Local No. 8N, 832 F.2d 31, 32 n.1 (3d Cir.
            1987);…where the issue is decided in a controlling
            opinion only after the presenter has asserted a
            plausible position, Blackwell v. Department of
            Offender; or where the law is “not yet clearcut,”…

Gregory P. Joseph, 1 Sanc. Fed. Law of Lit. Abuse § 11 (2022) (certain

citations omitted). Here, there is no such precedent. 9

      C.    The Statement About Communication with the
            Victims’ Family Was Not Sanctionable

      The Notice of Concession stated that there had been “communication

with the victims’ family.” Appellants and the drafter of the Notice did not

state, and did not intend to convey, that the family agreed with the

concession. See A129-30; A362-63; A255-56 (Green Expert Report)

(“There is no reason to believe that [Mr. Kaufman] or anyone else in the




      9 The District Court has, as a matter of the court’s supervisory powers,

imposed a rule for future “concessions” by the DAO in habeas matters that
requires the DAO to provide relevant information regarding the concession.
A69. The DAO agreed with the Court’s power to do so on a prospective
basis.
                                    - 23 -
Office anticipated the Court’s reading of the phrase and its significance to

the Court.”). The statement was intended to convey only that the

concession was discussed with the victims’ family. A130. Amicus and

Family Amici argue that while the statement may be “technically accurate,”

it was misleading. But the standard as to whether it is misleading is

whether it was made to deliberately mislead, as Amici’s cases establish; and

there is no record evidence of deliberate deception. See In re Taylor, 655

F.3d 274 (3d Cir. 2011) (statements that were known to be false or a true

statement where the “the reasonably foreseeable effect” of the

representations reflected an intent to mislead the court); Dillon v. BMO

Harris Bank, N.A., 2016 WL 5679190, at *14 (M.D.N.C. Sept. 30, 2016) (a

statement deliberately misleading the Court). 10




      10 The Family Amici faults Appellants with this analogy to a teenager

seeking use of a car: The child misleads in saying to Mom that he had
spoken with his dad but in not reporting that the dad had said no. Family
Br. at 20-21. But: (1) here, when Appellants reported that they has spoken
with the family, the person that they had spoken with did not say “no” but
said that he would check with other family members (A123); and (2) while
the dad surely has say over whether the child can use the car, the victim’s
family view is not legally relevant to the ineffectiveness issue, as the District
Court conceded. A10, n.3. See Domain Protection, 23 F.4th at 543
(vacating sanctions because relevance was not clear on the record).
                                     - 24 -
      Family Amici argue that a “half-truth” can be an actionable

misrepresentation and that the context of the statement made it

misleading. Dkt. 47 at 20. But this Court must focus on the plain meaning

of the text. Vorchheimer v. Philadelphian Owners Ass’n, 903 F.3d 100, 105

(3d Cir. 2018) (“We begin with the text.”). Here, the statement

“communication with the victims’ family,” was made in the context of

procedural facts, and is a typical notice-pleading statement. It refers to

communication with the victims’ family but does not in any manner suggest

that “the Hart family supported the proposed concession.” Nor did the

District Court make any inquiry as to the family’s position on the

concession. Therefore, the District Court’s interpretation, without further

inquiry, was not compelled by the statement. See Kiobel v. Millson, 592

F.3d 78, 81 n.5 (2d Cir. 2010).

      Finally, as the District Court acknowledged, it would have erred by

deciding the Strickland claim on the basis of the family’s views. See A10

n.3; Bosse v. Oklahoma, 580 U.S. 1 (2016) (per curiam). 11




      11 The DAO expressed regret and apologized pursuant to the District

Court’s Order for its failure to have not more fully communicated with the
family. But neither that fact, nor the victims’ rights statute, renders the
Notice false or misleading.
                                    - 25 -
      D.    The District Court Failed to Timely Refer the Matter
            Pursuant to Local Rule 83.6(V)

      Local Rule 83.6(V) required the District Court to transfer this matter

to the Chief Judge as of May 11, 2022, when it issued an opinion in which it

“preliminarily concluded” that the DAO breached its ethical duty of candor

under Rule of Professional Conduct 3.3. A33.

      Amicus argues that a referral was not triggered because the District

Court has inherent authority to sanction Appellants under Rule 11 and that

the Rule only “covers situations where a judge believes disciplinary

measures like disbarment or suspension could be warranted,” Amicus Br.

at 49. Amicus is wrong.

      First, the text of Local Rule 83.6 makes it applicable to any violation

of the Rules of Professional Conduct. See E.D. Pa. L. Civ. R. 83.6(IV)(B).12

The Rule states that it covers “other disciplinary action as the

circumstances may warrant.” And discipline is broadly defined to include

“a sanction or penalty imposed after an official finding of misconduct” and




      12 The criticisms of the DAO in the May 11 Opinion are hardly

“preliminary.” The District Court directly accused the DAO of
“withholding” the escape attempt evidence, A37, although there was no
factual basis to assume that the DAO knew or deliberately failed to take
reasonable steps to know about the escape attempt.
                                    - 26 -
commonly includes “disbarment, suspension, and reprimand.” See

DISCIPLINE (Definition No. 1), Black’s Law Dictionary (11th ed. 2019);

Adams v. Ford Motor Co., 653 F.3d 299 (3d Cir. 2011).

      Second, the May 11 Opinion made no mention of Rule 11 and was

based on alleged ethical violations of the duty of candor under Rules of

Professional Conduct. Adams is highly instructive. There, this Court ruled

that “an order equivalent to a sanction” was within the D.V.I. local rule,

which is virtually identical to E.D. Pa. Local Rule 83.6(V). Given the fact

that the District Court’s initial, May 11, 2022 ruling was based entirely on

allegations of violations of the duty of candor under Rule 3.3, and that this

case did not become a Rule 11 matter until the June 2022 hearing itself,

Adams is fully applicable. 13 Thus, the District Court’s obligation to refer the

matter triggered when it believed it had Rule 3.3 concerns about Appellants.




      13 Adams stated that the D.V.I. Local Rule applies to orders

“equivalent to a sanction.” Id. a 307-08. Here, the findings in the May 11
Opinion were “equivalent to a sanction” as they “undermine[d] professional
reputation[s] and standing in the community.” Id. at 305-06.
                                     - 27 -
III. CONCLUSION

      For the foregoing reasons, and those set forth in their opening Brief,

Appellants respectfully request that this Court reverse the District Court’s

order and vacate the District Court’s opinion.

                                    Respectfully submitted,

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                                    - 28 -
                       COMBINED CERTIFICATIONS

      Pursuant to Fed. R. App. P. 32(g) and L.A.R. 32.1, I, the undersigned,

hereby certify that:

      1.       This brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B)(ii). Exclusive of the exempted portions of the brief, as

provided in Fed. R. App. P. 32(f), the brief contains 6,042 words. As

permitted by Fed. R. App. P. 32(g), the undersigned has relied upon the

word count feature of this word processing system in preparing this

certificate.

      2.       This brief complies with the typeface and type style limitation of

Fed. R. App. P. 32(a)(5) and (6). The brief has been prepared in

proportionally spaced typeface using Microsoft Word 2016 in 14 point

Georgia font.

      3.       In addition, pursuant to Third Circuit Local Appellate Rule

31.1(c), the text of the brief filed with the Court via CM/ECF is identical to

the text of the paper copies.

      4.       The electronic version of the brief has been scanned for viruses

by SentinelOne v 21.5.7.370 and Trend Micro ApexOne v14 (updated

continuously) and is, according to that program, free of viruses.




                                        -1-
      5.    On September 18, 2023, I caused the foregoing to be

electronically filed with the Clerk of Court using the CM/ECF System,

which will send notice of such filing to all registered users.



Dated: September 18, 2023                   /s/ John S. Summers
                                            John S. Summers (PA 41854)




                                      -2-
